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8                                     UNITED STATES DISTRICT COURT

9                                CENTRAL DISTRICT OF CALIFORNIA

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11   BRENDA CORE,                               )   Case No. CV 20-6136 FMO (JCx)
                                                )
12                       Plaintiff,             )
                                                )
13                v.                            )   JUDGMENT
                                                )
14   ELIES VILLAGE 2 LLC,                       )
                                                )
15                       Defendant.             )
                                                )
16                                              )

17         Pursuant to the Court’s Order Dismissing Action Without Prejudice, IT IS ADJUDGED

18   THAT the above-captioned action is dismissed without prejudice.

19   Dated this 20th day of October, 2020.

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21                                                                    /s/
                                                               Fernando M. Olguin
22                                                          United States District Judge

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